Case 2:12-cr-06061-WFN   ECF No. 152   filed 07/02/13   PageID.418 Page 1 of 6
Case 2:12-cr-06061-WFN   ECF No. 152   filed 07/02/13   PageID.419 Page 2 of 6
Case 2:12-cr-06061-WFN   ECF No. 152   filed 07/02/13   PageID.420 Page 3 of 6
Case 2:12-cr-06061-WFN   ECF No. 152   filed 07/02/13   PageID.421 Page 4 of 6
Case 2:12-cr-06061-WFN   ECF No. 152   filed 07/02/13   PageID.422 Page 5 of 6
Case 2:12-cr-06061-WFN   ECF No. 152   filed 07/02/13   PageID.423 Page 6 of 6
